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                   IN THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION


UNITED STATES OF AMERICA                  )
                                          )
       v.                                 )        CR. NO. 2:17-cr-131-MHT
                                          )               (WO)
MELISSA JACQUELYN COOPER                  )

                                      ORDER

      On December 7, 2017, a petition seeking revocation of the defendant’s pretrial

release was filed. (Doc. # 322) The petition alleged that the defendant violated the

condition of her release requiring that she not “use or unlawfully possess a narcotic

drug or other controlled substances defined in 21 U.S.C § 802, unless prescribed by

a licensed medical practitioner.” The defendant appeared for an initial appearance

on the petition on December 12, 2017. At that time, upon the advice of counsel the

defendant waived her right to a hearing and admitted to the violation of her

conditions of release as set forth in the petition. Accordingly, the court finds that

there is probable cause to believe that Cooper has committed a Federal, State, or

local crime while on release and that Cooper is unlikely to abide by any condition or

combination of conditions of release. See 18 U.S.C. § 3148. Therefore, it is

      ORDERED that the petition to revoke be and is hereby GRANTED and that

the defendant is committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate, to the extent
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practicable, from persons awaiting or serving sentences or being held in custody

pending appeal. The defendant shall be afforded a reasonable opportunity for private

consultation with defense counsel. On order of a court of the United States or on

request of an attorney for the Government, the person in charge of the corrections

facility shall deliver the defendant to the United States marshal for the purpose of an

appearance in connection with a court proceeding.

      Done this 12th day of December, 2017.


                              /s/Charles S. Coody
                          CHARLES S. COODY
                          UNITED STATES MAGISTRATE JUDGE
